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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

MELANIE MOORE,

      Plaintiff,

v.                                                    Case No: 8:20-cv-2184-MSS-SPF

POOCHES OF LARGO, INC. and
LUIS MARQUEZ,

      Defendants.


                                  AMENDED ORDER

     THIS CAUSE comes before the Court sua sponte. At the Pretrial Conference held

on July 26, 2023, the Plaintiff, Melanie Moore, requested permission to bring a laptop,

and cell phone into the courthouse for use during the trial of this matter. The trial

previously set to commence on Monday, August 7, 2023, at 9:00 AM, is rescheduled.

The new scheduling date and time is Monday, September 18, 2023, at 9:00 AM ending

on or about Wednesday, September 20, 2023.

     Upon consideration, the Court GRANTS the Plaintiff’s request. It is hereby

ORDERED as follows:

     1. Melanie Moore is permitted to bring the following equipment into the Sam

         M. Gibbons Federal Courthouse beginning Monday, September 18, 2023, at

         9:00 AM ending on or about Wednesday, September 20, 2023 or through the

         duration of the trial of this matter, whichever is later:
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            a. One (1) cellular phone;

            b. One (1) laptop computer;

     2. All cellular phones must be turned off or switched to silent mode while in the

        courtroom and may be used only 1) outside the courtroom in the attorney

        conference rooms or 2) outside the building entirely.

     3. Any person authorized by this Order shall present a copy of this Order to

        security personnel when he enters the courthouse with the electronic

        equipment. Security personnel require that the authorized person present

        picture identification at the time of entry. The cellular phone, laptop

        computer, and tablet are subject to inspection at any time by courthouse

        security personnel and may not be used to record official proceedings of the

        Court. A violation of this Order will constitute contempt of court and may

        subject the violator to severe sanctions.

      DONE and ORDERED in Tampa, Florida, this 10th day of August 2023.




Copies furnished to:
Counsel of Record
Any Unrepresented Person




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